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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 Samuel L. Thornton,                                Case No. 3:06 CR 722
                                                             (3:09 CV 813)
                        Defendant/Petitioner,
                                                    MEMORANDUM OPINION
                -vs-                                AND ORDER

 United States of America,                          JUDGE JACK ZOUHARY

                        Plaintiff/Respondent.



       Pro se Defendant Samuel Thornton filed a Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct his Sentence (Doc. No. 244). The Government opposes his Motion (Doc. No. 249).

For the reasons set forth below, Defendant’s Motion is denied.

                                           BACKGROUND

       Defendant was named in a 17-count Indictment (Doc. No. 1) which charged Defendant and

five co-defendants with conspiracy to commit drug offenses in violation of 21 U.S.C. §§ 841 & 846

(Count 1). Defendant was also charged with possession of cocaine (Counts 7, 8, & 10), marijuana

(Count 9), and cocaine base (Counts 11 & 12), all with the intent to distribute, in violation of 21

U.S.C. § 841(a)(1).

       Defendant pled not guilty, as did co-defendant Robert Poole. On January 29, 2007, a jury trial

commenced on the charges against Defendant and Poole. On the second day of trial, Defendant

decided to change his plea and enter a plea of guilty as to all counts. Defendant’s verbal plea was to
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be supplemented with a written plea agreement prior to sentencing (Doc. No. 150). The trial resumed

for Poole, who was found guilty of Counts 1 and 12, and not guilty on Count 13.

        On April 23, 2007, Defendant’s oral plea was reduced to writing, signed by Defendant, and

accepted by the Court (Doc. Nos. 180-81). Under the written plea agreement, Defendant admitted

to his culpability to each count (Doc. No. 181 ¶ 2). In the agreement, he also agreed to waive his right

to file a direct appeal and his right to file collateral challenges, including proceedings under 28 U.S.C.

§ 2255, except for certain reserved appellate rights. The section of the agreement addressing the

reserved appellate rights states:

        Defendant reserved the right to appeal: (a) any punishment in excess of the statutory
        maximum; (b) any punishment to the extent it exceeds the maximum of the sentencing
        range determined under the advisory Sentencing Guidelines in accordance with the
        sentencing stipulations and computations in this agreement, using the Criminal History
        Category found applicable by the Court. Nothing in this paragraph shall act as a bar
        to the defendant perfecting any legal remedies he may otherwise have on appeal or
        collateral attack respecting claims of ineffective assistance of counsel or prosecutorial
        misconduct.

(Id. ¶ 16).

        The Presentence Report (PSR) calculated Defendant’s base offense level at 30, which reflected

a two-level reduction for acceptance of responsibility under Guideline § 3E1.1. The PSR calculated

Defendant’s Criminal History Category as Level III, resulting in a Guideline range of 121 to 151

months imprisonment. The Court ultimately sentenced Defendant to 136 months (with a 12-month

credit for time served in state custody) and five years of supervised release (Doc. No. 183).

        Defendant timely appealed his sentence in May 2007. The Sixth Circuit appointed attorney

Shawn Hooks to serve as Defendant’s appellate counsel (Doc. No. 205). Hooks filed a motion to

withdraw and an Anders brief. See United States v. Thornton, No. 07-3635 (6th Cir. Jul. 31, 2008)

(unpublished order affirming Defendant’s conviction and sentence). Defendant filed a one-page letter

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as his pro se response in which “he summarily questions the accuracy of the plea and sentencing

transcripts.” Id. at p. 1. The Sixth Circuit held that Defendant validly waived his right to appeal his

sentence in the plea agreement, and thus there was no viable ground for challenging his conviction

on direct appeal. Id. at pp. 2-3.

       Defendant filed the instant Section 2255 Motion to Vacate, Correct, or Set Aside his Sentence

on April 8, 2009. Defendant argues he is entitled to relief because his appellate counsel was

ineffective for failing to raise various issues before the Sixth Circuit on direct appeal.

                                       STANDARD OF REVIEW

       To prevail on a Section 2255 motion alleging non-constitutional error, defendant must

establish the error “qualifies as ‘a fundamental defect which inherently results in a complete

miscarriage of justice or an omission inconsistent with the rudimentary demands of fair procedure.’”

Reed v. Farley, 512 U.S. 339, 348 (1994) (quoting Hill v. United States, 368 U.S. 424, 428 (1962)).

This stringent standard recognizes that habeas petitions are not meant to take the place of direct

appeals. See Sunal v. Large, 332 U.S. 174, 178 (1947).

       To prevail on a Section 2255 motion alleging constitutional error, defendant must establish

an error which had a substantial and injurious effect or influence on the proceedings. Watson v.

United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637-38

(1993)). However, in the case where defendant has failed to assert his claims on direct appeal, and

thus has procedurally defaulted on these claims, to raise them in a Section 2255 motion he also must

show “either that (1) he had good cause for his failure to raise such arguments and he would suffer

prejudice if unable to proceed, or (2) he is actually innocent.” Regalado v. United States, 334 F.3d

520, 528 (6th Cir. 2003) (citing Bousley v. United States, 523 U.S. 614, 622 (1998)).


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         Furthermore, “[i]t is a ‘well-settled principle that to obtain collateral review relief a prisoner

must clear a significantly higher hurdle than would exist on direct appeal.’” Fair v. United States,

157 F.3d 427, 430 (6th Cir. 1998) (quoting United States v. Frady, 456 U.S. 152, 166 (1982)). “A

petitioner seeking to vacate a sentence pursuant to § 2255 has the burden of sustaining his contentions

by a preponderance of the evidence.” McNeil v. United States, 72 F. Supp. 2d 801, 804 (N.D. Ohio

2004).

                                               DISCUSSION

         Ineffective Assistance of Appellate Counsel

         Defendant alleges appellate counsel was ineffective because he did not challenge the validity

of Defendant’s guilty plea. Defendant contends appellate counsel should have challenged the validity

of his guilty plea on the following ground: there was an insufficient factual basis tying Defendant to

the conspiracy charge (Count 1). Defendant points to his trial counsel’s objection during trial to this

Court’s ruling that certain co-conspirator statements were admissible under Federal Evidence Rule

801(d)(2)(E), a hearsay exclusion, because the Government had established the existence of a

conspiracy by Evidence Rule 104(a)’s preponderance-of-the-evidence standard. Defendant appears

to be arguing appellate counsel erred by not challenging this ruling on direct appeal.

         For a claim of ineffective assistance of counsel, a defendant must ordinarily prove two

components: (1) counsel’s performance was deficient; and (2) resulting prejudice, such that there is

a “reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Strickland v. Washington, 466 U.S. 668, 687, 694 (1984). “A reasonable

probability is a probability sufficient to undermine confidence in the outcome.” Williams v. Taylor,

529 U.S. 362, 391 (2000).


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       To satisfy the first prong, a defendant must point to specific errors, and the reviewing court

must determine “whether, in light of all the circumstances, the identified acts or omissions were

outside the wide range of professionally competent assistance.” Strickland, 466 U.S. at 690.

“[J]udicial scrutiny of a counsel’s performance must be highly deferential and [] every effort must be

made to eliminate the distorting effects of hindsight, to reconstruct the circumstances of counsel’s

challenged conduct, and to evaluate the conduct from counsel’s perspective at that time.” Bell v.

Cone, 535 U.S. 685, 698 (2002) (internal citations omitted).

       To satisfy the second prong, a defendant must demonstrate prejudice, establishing that

“counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial whose result is

reliable.” Strickland, 466 U.S. at 687.

       Appellate counsel’s performance is also evaluated in accordance with the two-prong

Strickland standard. Mapes v. Tate, 388 F.3d 187, 191 (6th Cir. 2004). Appellate counsel has no

constitutional duty to raise every non-frivolous issue requested by defendant. Jones v. Barnes, 463

U.S. 745, 751 (1983). To demonstrate that appellate counsel has rendered deficient performance

under Strickland, “the petitioner must demonstrate that the issue not presented ‘was clearly stronger

than issues that counsel did present.’” Caver v. Straub, 349 F.3d 340, 348 (6th Cir. 2003) (quoting

Smith v. Robbins, 528 U.S. 259, 289 (2002)).

       Defendant’s ineffective assistance of counsel claim is not well taken for several reasons. First,

in his plea agreement, Defendant expressly waived his right to challenge numerous issues on direct

appeal, including this Court’s evidentiary ruling at trial with respect to the admissibility of co-

conspirator statements. Thus, appellate counsel could not raise this issue on appeal without violating




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the terms of the plea agreement. Second, Defendant pled guilty to conspiracy, admitting in his signed

plea agreement that with respect to Count 1, the conspiracy charge:

       (1) that the conspiracy alleged in Count 1 of the Indictment existed;

       (2) that the defendant knew of the conspiracy; and

       (3) that the defendant knowingly and voluntarily joined the conspiracy.

(Doc. No. 181 ¶ 2). Furthermore, in the plea agreement Defendant stipulated that he “conspired to

possess with intent to distribute at least 5 kilograms but less than 15 kilograms of cocaine” (id. ¶ 11).

Thus, any argument that appellate counsel had an obligation to challenge the factual basis of

Defendant’s involvement in the conspiracy underlying his guilty plea is baseless.

       A voluntary and intelligent guilty plea usually forecloses later attempts to challenge the

sufficiency of the evidence because “the plea serves not only to admit the conduct charged in the

indictment but also to concede guilt of the substantive crime.” In re Hanserd, 123 F.3d 922, 926 (6th

Cir. 1997). In that regard, this is not a case where a criminal defendant claims to have wrongly pled

guilty because he or she misunderstood the law in relation to the facts. See id. (finding guilty pleas,

given under such circumstances, involuntary and thus subject to revocation). The Sixth Circuit

already concluded on direct appeal that Defendant entered his guilty plea voluntarily and intelligently.

Thornton, No. 07-3635, at pp. 2-3.

       In sum, appellate counsel’s failure to challenge the sufficiency of the evidence upon which

Defendant’s guilty plea to the conspiracy count was premised was not “outside the wide range of

professionally competent assistance.” Strickland, 466 U.S. at 690. Indeed, mounting such a challenge

would have contradicted the terms of the plea agreement.




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       Other Allegations

       In his Motion, Defendant also complains that he “was never giv[en] a chance to talk to the

court detective [presumably referring to the AUSA or FBI agent handling the case] about any type

of deal or a proffer. I told my lawyer I wanted to talk to someone and explain what am guilty of

before trial. I was not allowed.” (Doc. No. 244, p. 4). The record belies this assertion. Defendant

had the opportunity to change his plea two months before trial but refused to do so prior to the

October 31, 2006 plea deadline (see Doc. Nos. 116 & 118). Furthermore, Defendant was able to

change his plea at a very late stage of the proceedings -- after the jury was empaneled and the trial had

begun -- and received a two-level reduction for acceptance of responsibility.

       Defendant also makes vague references to allegedly faulty jury instructions in his Motion: “the

prejudicial issue of jury instructions regarding the establishment of factual basis for the movant’s

participation in the conspiracy as stated in Count 1” (Doc. No. 244, p. 4). The Court fails to see the

relevance of jury instructions, given that he pled guilty before his case was submitted to the jury.

       Finally, in his Motion Defendant states: “I have 2 Brothers . . . Dennis Key is not my Brother”

(Doc. No. 244, p. 4). This complaint, again, is irrelevant. Defendant’s guilt was not founded on his

familial connections, but rather his admissions to the Court when he pled guilty.

                                             CONCLUSION

       Defendant’s Section 2255 Motion to Vacate, Set Aside, or Correct his Sentence is denied.

Defendant knowingly and voluntarily entered into his plea agreement which waived certain appellate

rights, and appellate counsel was not deficient for not raising the issues which Defendant now

complains.




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       Furthermore, pursuant to 28 U.S.C. §§ 1915(a) and 2253(c), this Court certifies that an appeal

of this action could not be taken in good faith and that Defendant has failed to make a substantial

showing of the denial of a constitutional right. Therefore, this Court declines to issue a certificate of

appealability.

       IT IS SO ORDERED.

                                                           s/ Jack Zouhary
                                                       JACK ZOUHARY
                                                       U. S. DISTRICT JUDGE

                                                       August 12, 2009




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